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     MICHAEL JOHN AVENATTI
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 7
                              UNITED STATES DISTRICT COURT
 8
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
11               Plaintiff,                        SUPPLEMENTAL BRIEF RE SPECIAL
12                      v.                         AGENTS DELEASSA PENLAND AND
                                                   CHRIS HARPER
13   MICHAEL JOHN AVENATTI,
14               Defendant.
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17          Prior to opening statements and in anticipation of his case-in-chief, Mr. Avenatti
18   served trial subpoenas on five government Special Agents – Remoun Karlous, James
19   Kim, Ryan Roberson, DeLeassa Penland, and Chris Harper. Special Agents Penland and
20   Harper were served in the Southern District of New York. See e.g., [Dkt. 614, pgs. 12-
21   15].
22          On July 31, 2021, Mr. Avenatti filed a “Motion for Reconsideration of the Court’s
23   Order Deeming Defendant’s Five Subpoenas Served on Government Agents Ineffective
24   due to Failure to Comply with Touhy Regulations.” [Dkt. 614]. On August 2, 2021, the
25   government filed an Opposition. [Dkt. 630].
26          On August 3, 2021, the Court heard the defendant’s motion. The Court
27   reconsidered its prior Order and vacated its prior ruling that quashed the prior subpoenas
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 1   related to Special Agents James Kim, Ryan Roberson and Remoun Karlous. As it relates
 2   to Special Agents DeLeassa Penland and Chris Harper, the Court ordered the defendant
 3   to provide a statement as to whether other Special Agents, who are local to the Central
 4   District of California, were present during the interviews, witness preparation sessions,
 5   or other relevant meetings.
 6         Later on August 3, 2021, the defendant filed a “Trial Brief in Support of the
 7   Subpoenaed Testimony of Special Agents DeLeassa Penland and Chris Harper.” [Dkt.
 8   641]. Attached as Exhibit A, Mr. Avenatti provided the Court with a chart outlining the
 9   meetings where Special Agents Penland and Harper were present during five interviews,
10   witness preparation sessions or other contacts with government witness Judy Regnier
11   where local CDCA agents were not present. [Dkt. 641, p. 5]. This chart referenced
12   specific USAO bates numbers evidencing these five encounters.
13         On August 4, 2021, the Court requested that the defendant provide the Court with
14   a copy of the memorandums and/or interviews notes associated with these specific
15   USAO bates numbers.
16         Mr. Avenatti provides the attached Exhibits A, B, C, D, and E, under seal, to
17   establish that Special Agents DeLeassa Penland and Chris Harper had interactions with
18   government witness Judy Regnier where an accompanying local Special Agent was not
19   present and could not testify to the facts asserted during those meetings. These
20   interactions included discussions/evidence collection relating to the X-Law Group, client
21   costs, the finances of Eagan Avenatti, the operation of Eagan Avenatti, LLP, and Ms.
22   Regnier’s working relationship with Mr. Avenatti, all topics that have been explored on
23   direct by the government during their examinations of multiple witnesses, including but
24   not limited to Ms. Regnier.
25   //
26   //
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      Dated: August 6, 2021                 Respectfully submitted,
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 2                                         /s/ Michael J. Avenatti
 3                                         Defendant
                                           MICHAEL JOHN AVENATTI
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24                            EXHIBITS A-E (UNDER SEAL)
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 1
 2                                CERTIFICATE OF SERVICE
 3
            I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 4
 5   age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.

 6   I am not a party to the above-entitled action. I have caused, on August 6, 2021, service of
 7
     the:
 8
 9      SUPPLEMENTAL BRIEF RE SPECIAL AGENTS DELEASSA PENLAND AND
                               CHRIS HARPER
10
     on the following party, using the Court’s ECF system:
11
12   AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
13
     I declare under penalty of perjury that the foregoing is true and correct.
14
     Executed on August 6, 2021
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16
                                             /s/ H. Dean Steward
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                                             H. Dean Steward
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